                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA,                                           Case No.   2:97-CR-0066-WFN-1
                                                                     CRIMINAL MINUTES
                                        Plaintiff,                   DATE:     JUNE 24, 2020
         -vs-
                                                                     LOCATION: SPOKANE
 BRIAN RATIGAN
                                        Defendant.                   RESENTENCING HEARING


                                      Hon. Wm. Fremming Nielsen
        Joanna L. Knutson                             Heather Foe                         Crystal L. Hicks
        Courtroom Deputy                              Law Clerk                           Court Reporter
                 Joseph H. Harrington                                         Robert M. Seines
                Government Counsel                                            Defense Counsel
 United States Probation Officer:       Sean E. Carter

        [ X ] Open Court                       [ ] Chambers                            [ ] Telecon
Defendant present in custody of United States Marshal with appointed counsel. Initial comments by Court
advising he had reviewed all documents filed in preparation of the resentencing, including the Amended
Presentence Investigation Report and the two Addendums, as numerous letters in support of the Defendant and
Defendant's own Statements to the Court and to the Victims.

The Court noted the Government's four objections to the PSR are now moot due to the amended PSR prepared
by Probation Officer Carter. Mr. Harrington agreed the Government's objections were moot. The Court ruled
on Defendant's objections to the PSR. The Court confirmed with defense counsel that the Defendant had the
opportunity to review the Amended PSR and further queried Defendant as to whether he had any objections
other than that already discussed; Defendant indicated he did not. The Court accepted the Presentence
Investigation Report.

Counsel addressed the Court with their respective recommendations for resolution of the matter. Defendant
addressed the Court. The Court determined the applicable Guideline range. Sentence imposed as follows:

Imprisonment:               Time Served as to Counts 1s, 6s, 8s, and 9s
Supervised Release:         5 Years as to Count 8s and 3 Years as to Counts 1s, 6s, and 9s; all terms to run
                              concurrent with one another. With mandatory, standard, and special conditions
                              as follows:
                               • Full financial disclosure to Probation Officer as requested
                               • Do not incur any new debt, open lines of credit or enter into any financial
                                    contracts without advance Probation Officer approval
                               • Mental health evaluation and treatment/counseling, if recommended
                               • Search of person, vehicle and residence
                               • Substance abuse evaluation and treatment/counseling, if recommended
                               • Cooperate in the collection of DNA as directed by Probation Officer
Fine:                       Waived


 CONVENED: 9:00 A.M.             ADJOURNED:          10:20 A.M.     TIME:   1:20 HR.      CALENDARED         [ N/A ]
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Restitution:             $118,394.72 Total (less any previous payments) Joint and several with Verne Jay
                            Merrell, 2:96-CR-0257-WFN-1; Charles Harrison Barbee, 2:96-CR-0258-WFN-1;
                            and Robert Sherman Berry, 2:96-CR-0259-WFN-1.
Special Assessment:      $    400.00

Appeal rights given.
